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 Request for leave to file the instant document in
 FWC case # 16-cv-10444; whereby [I] disabled,
 hereby (e.g. in accordance with a letter dated
 November 15th, 2022 in APPEAL #22-2042 from
 case manager - Amy Gigliotti which INSTRUCTS
 me to file for IFP status in the DISTRICT COURT
 FWC case #16-cv-10444 by 12-15-2022).



 From: Melvin Jones Jr. - disabled Flint Resident

 1935 Hosler St. - Flint, Michigan 48503 [and]
 previous address: 829 Campbell St - Flint,
 Michigan 48507 Email- meljonesjr@gmail.com

 Phone# (google voice to text) 415-562-5074

       MOTION FOR IFP, based upon the initial
 granting of my IFP in FWC case #21-cv-10937.
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 Here… in the interest of judicial economy and
 economy upon myself…. [the generalized issues
 which I intend upon presenting on appeal can be
 found in Ecf Doc. # 1003 in the instant FWC
 #17-cv-10164].

       Also, I respectfully note that my “financial
 status” HAS NOT changed for the better since my
 previous granting of IFP in FWC #21-cv-10937; in
 FACT… I believe and assert that my pauper status
 has gotten MUCH worse. For example, at present,
 my checking account @ Huntington Bank is
 overdrawn, and my account balance in my MI
 ABLE account is approx. $1,700.xx; my home in
 the City of Flint… needs MANY plumbing
 replacements and/ or repairs (approx. $10,000.xx)
 and my “burial space vacant lot” has taxes owed
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 on it…. See for example a CAPTION of my current
 checking account balance:




 —---------

       I realize that the FWC district court
 (e.g. Judge LEVY) might NOT at first be
 inclined to GRANT my IFP “continuing
 request here”.... but, MAYBE if I explain my
 concerns and confusion[s] which I believe
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 (but hopefully NOT) cause my IFP request
 here to be MOOT. Which is to say, due to
 my disabling medical conditions [] and
 serious vision impairments (e.g. the District
 Court/ Judge LEVY has previously
 GRANTED — LARGE PRINT
 accommodation for me {e.g. and the 6th
 Circuit Court of Appeals case manager -
 Amy Gigliotti has ALSO put (as a courtesy)
 letter[s] and/ or orders WHEN POSSIBLE in
 large print format for me}).... I admit that I
 am NOT able to fully read certain
 documents and/ or orders and such…. And,
 no kidding here — I have gotten by nearly
 my entire life doing so, because I
 additionally suffer from really BAD eye
 strain “migraine headaches”; and my IBS
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 medical condition also causes me to have
 VERY bad headaches.

       And, recently …I have received
 decisions from the 6th Circuit Court of
 Appeals which seem to INDICATE that
 there is jurisdictional issues and/ or
 “scheduling orders” as to the Bellwether
 Trials which DISALLOW me to be able to
 assert proper jurisdictional - standing [for
 lack of a better term] regarding some of
 my appeals presented in FWC case[s].

       So — I thought that I may NEED to
 pose “situational” scenario questions to
 you Judge Levy… so that I will KNOW
 when, [IF] at all… the your court will be
 willing to ALLOW me to file NOTICE
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 documents to you for example. So, here
 goes:

    ● Lets say, that the MI EGLE and City of
       Flint ABRUPTLY switch BACK to the Flint
       river as a FULL time water source for
       the City of Flint ? And the water
       coming out of the faucets in my home
       looks like dark motor oil —- would it be
       OK, for me to ALERT your court of this ?
    ● Or, lets say… that LAN defendants form
       a settlement whereby they agree to
       REPLACE water heater for disabled
       persons in the City of Flint (e.g. such as
       myself) — and Veolia North America
       has NOT settled (e.g. NOR has the US
       EPA).... and BOTH the City of Flint and
       MI EGLE take apparent unison action to
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       DISALLOW the [hypothetical LAN
       settlement terms to take place].... Would
       your court want to be ALERTED by me
       of this ?
    ● More “close ot home, so to speak”....
       Lets say that BOTH the City of Flint and
       MI EGLE… have put forth conduct,
       against me — which I believe, amounts
       to environmental discrimination which
       I belive violates my civil rights…
       protected by US EPA Title VI statutes
       …would your court want to be ALERTED
       by me of this?

 Keeping in mind ….that per the
 hypothetical scenario[s] set forth above,
 which the latter of which I assert is VERY
 close to what I believe is REALITY giving
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 at least partial rise to my NOTICE OF
 APPEAL in Ecf Doc. # 1003 ….being of
 course aware that Bellwether Trial #2
 (redux for lack of a better term) is getting
 up to speed and on its way “forward” I
 guess.



 [I], MelvinJonesJr. -disabled resident of the City of Flint…. Assert that: The
 filing presented here (i.e. as best that I can tell — being that I have a history
 of CVA, TIA, Stroke and “ episodic communication impairment”... which I
 believe have been MADE WORSE due to the Flint Poisoned Water Crisis)…
 have NOT been raised and disposed of in this Court or in the Court of Appeals
 and that they set forth a claim for relief as well as the basis for that claim
 (e.g. with the EXCEPTION) that previously Judge LEVY has GRANTED MY IFP
 status in FWC #21-cv-10937 and large print accommodations as to my
 serious vision impairments)....
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 Thank you for taking the time to consider my
 request for leave to file — although such appears to
 BE MANDATED BY THE 6th Circuit Court of
 Appeals in appeal #22-2042 — … please provide the
 courts’ response and/ or order regarding my
 request for leave (i.e. as to my IFP request).... IN
 LARGE PRINT, and whereby your clerk and/ or the
 clerk's office sends such to [ME] via email… to
 ensure that I receive it. Respectfully Submitted,

 November 18th, 2022



 _________________________ _____________

 Melvin Jones Jr. - [FWC Archer Claimant] and
 resident of the City of Flint - pro se appellant, and
 interested party
